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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION



   ALLISON SAVOIE                                :     CIVIL ACTION NO. 2:20-CV-1698

           Plaintiff

   VERSUS                                        :      JUDGE JAMES D. CAIN, JR.

   THE PRUDENTIAL INSURANCE
   COMPANY OF AMERICA

           Defendant                             :      MAGISTRATE JUDGE KAY


                                            ORDER

           Considering the foregoing Joint Stipulation of Dismissal with Prejudice,

           IT IS ORDERED that all claims and demands made by any party in the above

   captioned lawsuit, including the claims and demands set forth in the complaint by Plaintiff,

   ALLISON SAVOIE, against Defendant, THE PRUDENTIAL INSURANCE COMPANY

   OF AMERICA, are hereby dismissed with prejudice with the parties bearing their own

   court costs.

           THUS DONE AND SIGNED in Chambers on this 17th day of September,

   2021.


                                                 ____________________________________
                                                 JAMES D. CAIN, JR.
                                                 UNITED STATES DISTRICT JUDGE
